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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

Prime Core Technologies Inc.,                         Case No. 23-11161 (JKS)

                      Debtor.

Tax I.D. No. XX-XXXXXXX

In re:                                                Chapter 11

Prime Trust, LLC,                                     Case No. 23-11162 (JKS)

                                 Debtor.
Tax I.D. No. XX-XXXXXXX

In re:                                                Chapter 11

Prime IRA LLC,                                        Case No. 23-11164 (JKS)

                                 Debtor.
Tax I.D. No. XX-XXXXXXX


In re:                                                Chapter 11

Prime Digital, LLC,                                   Case No. 23-23-11168 (JKS)

                                 Debtor.              Re: Docket No. 3
Tax I.D. No. XX-XXXXXXX
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             ORDER (I) DIRECTING JOINT ADMINISTRATION OF
       RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

        Upon the motion (the “Motion”)1 of the Debtors for entry of an order (this “Order”)

(a) directing joint administration of these cases for procedural purposes only, and (b) granting

related relief, all as more fully set forth in the Motion; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and the Court having found that this is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2); and this Court having found that venue of these Chapter 11 Cases is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and that this Court may enter a final order consistent with

Article III of the United States Constitution; and due and sufficient notice of the Motion having

been given under the particular circumstances; and it appearing that no other or further notice is

necessary; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors, their estates, their creditors, and other parties in interest; and after due deliberation

thereon; and good and sufficient cause appearing therefor; it is hereby it is HEREBY ORDERED

THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The above-captioned Chapter 11 Cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 23-11161 (JKS).

        3.       The caption of the jointly administered cases shall read as follows:




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
    the Motion.
                                                        2
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


      In re:                                                                    Chapter 11

      Prime Core Technologies Inc., et al.,1                                    Case No. 23-11161 (JKS)

                                                    Debtors.                    (Jointly Administered)



  1
        The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
        number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and
        Prime Digital, LLC (4528). Prime Trust, LLC’s service address is 330 South Rampart Blvd., Suite 260, Las
        Vegas, NV 89145.



          4.       The foregoing caption shall satisfy the requirements of section 342(c)(1) of the

Bankruptcy Code.

          5.       The Clerk of the Court shall make a docket entry in each Debtor’s Chapter 11 Case

(except that of Prime Core Technologies Inc.) substantially as follows:

                   An order has been entered in accordance with Rule 1015(b) of the
                   Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                   Local Bankruptcy Rules for the United States Bankruptcy Court for
                   the District of Delaware directing joint administration for procedural
                   purposes only of the chapter 11 cases of: : Prime Core Technologies
                   Inc., Case No. 23-11161 (5317); Prime Trust, LLC, Case No. 23-
                   11162 (6823); Prime IRA LLC, Case No. 23-11164 (8436); and
                   Prime Digital, LLC, Case No. 23-11168 (4528). All further
                   pleadings and other papers shall be filed in and all further
                   docket entries shall be made in Case No. 23-11161 (JKS).

                   The Debtors shall maintain, and the Clerk of the United States
                   Bankruptcy Court for the District of Delaware shall keep, one
                   consolidated docket, one file, and one consolidated service list for
                   these Chapter 11 Cases.

          6.       Nothing in the Motion or this Order shall be deemed to, or construed as, directing

otherwise effecting a substantive consolidation of these Chapter 11 Cases and this Order shall be

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without prejudice to the rights of the Debtors to seek entry of an order substantively consolidating

their respective cases.

       7.      The Debtors are authorized to take all actions necessary to implement the relief

granted in this Order.

       8.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, or enforcement of this Order.




       Dated: August 25th, 2023                            J. KATE STICKLES
       Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE




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